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         EXHIBIT A
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                                                                 IN THE CIRCUIT COURT OF THE
                                                                 SEVENTEENTH JUDICIAL CIRCUIT IN AND
                                                                 FOR BROWARD COUNTY, FLORIDA


                                                                 CASE NO.: 17-001035 CACE (14)

        RICARDO VASQUEZ and ANTONIO ERVIN
        on behalf of themselves and others similarly situated
        under 29 U.S.C. 216(b)

                Plaintiff,
        vs.

        THE SCOTTS COMPANY LLC
        EG SYSTEMS, INC., TRUGREEN, INC., and
        TRUGREEN LIMITED PARTNERSHIP

                Defendants.                                              /

                                 COMPLAINT AND DEMAND FOR JURY TRIAL

                Plaintiffs, RICARDO VASQUEZ (“VASQUEZ”) and ANTONIO ERVIN (“ERVIN”)

        (collectively referred to as “Plaintiffs”), bring this action on behalf of themselves and other current

        and former similarly situated employees against Defendants, THE SCOTTS COMPANY LLC.,

        (“SCOTTS”) and EG SYSTEMS, INC. (“EG SYSTEMS”) collectively referred to as

        (“Defendants”) to recover overtime compensation, liquidated damages, costs and reasonable

        attorneys’ fees under the provisions of the Fair Labor Standards Act, 29 U.S.C. § 216(b) (“FLSA”)

        and, in support thereof, state as follows:

                                                         PARTIES

                1.      VASQUEZ worked for Defendants from approximately March 2013 until September

        2015. VASQUEZ worked as a lawn care technician in Miami-Dade County, Florida and was paid

        $13.75 per hour for the first forty (40) hours worked each week. VASQUEZ was then paid a lesser

        amount, approximately $4.00 to $5.00 per hour for every hour worked over forty (40) in each

        workweek.




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            2.      ERVIN worked for Defendants from approximately 2011 until approximately July

    2014. ERVIN also worked as a lawn care technician in Miami-Dade County, Florida and was

    compensated in the same manner as VASQUEZ.

            3.      SCOTTS is a Foreign Limited Liability Company that conducts business in Miami-

    Dade County, Florida, which is within the jurisdiction of this Court.

            4.      EG SYSTEMS, INC. is a Foreign Profit Corporation that conducts business in

    Miami-Dade County, Florida, which is within the jurisdiction of this Court.

            5.      Defendants, directly or indirectly, acted in the interest of an employer toward

    Plaintiffs and other similarly situated employees at all material times, including, without limitation,

    directly or indirectly controlling the terms of employment and compensation of Plaintiffs and other

    similarly situated employees.

            6.      At all times pertinent to this Complaint, Defendants regularly owned and operated a

    business engaged in commerce or in the production of goods for commerce as defined in §§ 3(r) and

    3(s) of the Act, 29 U.S.C. §§ 203(r) and 203(s).

            7.      At all times pertinent to this Complaint, Defendants regularly owned and operated a

    business engaged in commerce or in the production of goods and/or materials that has been moved

    in or produced for commerce.

            8.      Based upon information and belief, the annual gross sales volume of Defendants was

    in excess of $500,000.00 per annum at all time material hereto.

            9.      At all times pertinent to this Complaint, Defendants were an enterprise in commerce

    or in the production of goods for commerce as defined in §§ 3(r) and 3(s) of the Act.

            10.     Jurisdiction is conferred on this Court by 29 U.S.C. § 216(b).




                                                          2


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            11.     The Court has jurisdiction over Defendants, and over Plaintiffs and any other

    plaintiffs joining this lawsuit in that the acts from which this lawsuit arise occurred in southeast

    Florida.

            12.     Plaintiffs and other similarly situated non-exempt, hourly employees regularly

    worked overtime hours. Defendants, however, failed to compensate Plaintiffs and other similarly

    situated employees at time and one-half their regular rates of pay for the overtime hours they

    worked.

            13.     Instead, Defendants seemingly used the fluctuating workweek method for calculating

    Plaintiffs’ and other similarly situated employees’ overtime rates of pay. By doing so, Defendants

    paid Plaintiffs and other similarly situated employees a half-time rate for all overtime hours worked.

            14.     Defendants failed to comply with the requirements of the FLSA by failing to inform

    Plaintiffs and other similarly situated employees how their pay was being calculated.

            15.     Moreover, Defendants failed to pay Plaintiffs and other similarly situated employees

    a fixed wage no matter how many hours they worked, whether few or many.

            16.     Rather, Defendants paid Plaintiffs and other similarly situated employees differing

    amounts, including bonuses, that were tied to the hours worked and jobs completed.

            17.     By doing so, Defendants failed to comply with the requirements necessary for

    application of the fluctuating workweek method of payment under the FLSA by paying Plaintiffs

    and other similarly situated employees less for their overtime hours than the amount required by

    law.

            18.     At all times pertinent to this Complaint, Defendants failed to comply with 29 U.S.C.

    § 201-209 by not compensating Plaintiffs and other similarly situated employees the required

    amount for the overtime hours they worked.


                                                          3


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            19.     The records, if any, concerning the number of hours actually worked and the

    compensation actually paid to the Plaintiffs and to similarly situated employees are in the

    possession and custody of Defendants. Plaintiff intends to obtain these records by appropriate

    discovery proceedings to be taken promptly in this case and, if necessary, Plaintiffs will then seek

    leave of the Court to amend the Complaint for damages to set forth the precise amount due to them.

            20.     Defendants knew and/or showed a willful disregard for the provisions of the FLSA

    as evidenced by their failure to compensate Plaintiffs and similarly situated employees the statutory

    rate of time and one-half for all the hours they worked in excess of forty (40) hours per week when

    Defendants knew or should have known such was due.

            21.     Defendants failed to properly disclose or apprise Plaintiffs and similarly situated

    employees of their rights under the FLSA.

            22.     Plaintiffs and similarly situated employees are entitled to time and one-half of their

    regular rate of pay for each hour (or part thereof) worked over forty (40) in a work week, along with

    an equal amount of liquidated damages.

            23.     Plaintiffs have retained the undersigned counsel to represent them in this action.

    Pursuant to 29 U.S.C. §216(b), Plaintiffs are entitled to recover all reasonable attorneys’ fees and

    costs incurred in this action.

                        COUNT I – FEDERAL OVERTIME WAGE VIOLATION

            24.     Plaintiffs re-allege paragraphs 1-23 above and incorporate the same herein by this

    reference.

            25.     Plaintiffs and all other similarly situated employees are entitled to be paid time and

    one-half their regular rate of pay for each hour worked in excess of forty (40) hours per work week.




                                                          4


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            26.     By reason of Defendants’ intentional, willful and unlawful acts, Plaintiffs and all

    other similarly situated employees have suffered damages, plus incurred costs and reasonable

    attorneys’ fees.

            27.     As a result of Defendants’ willful violation of the Act, Plaintiffs and the other

    similarly situated employees are entitled to liquidated damages.

            WHEREFORE Plaintiffs, RICARDO VASQUEZ and ANTONIO ERVIN, demand

    judgment against Defendants, THE SCOTTS COMPANY, LLC, and EG SYSTEMS, INC., for the

    payment of all overtime hours at one and one-half their regular rates of pay, liquidated damages;

    reasonable attorneys’ fees and costs, and such further relief that this Court deems just and

    appropriate.

                                         DEMAND FOR JURY TRIAL

            Plaintiffs demand trial by jury on all issues so triable by right of jury.

    Dated: January 12, 2017

                                                     GALLUP LAW
                                                     Counsel for Plaintiffs
                                                     4000 Hollywood Boulevard
                                                     Presidential Circle-Suite 265 South
                                                     Hollywood, Florida 33021
                                                     Telephone:     (954) 894-3035
                                                     Facsimile:     (954) 894-8015
                                                     E-mail: jauerbach@gallup-law.com

                                                     By:       /s/ Jacob K. Auerbach ________
                                                               JACOB K AUERBACH
                                                               Florida Bar No.: 0084003




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                                                          IN THE CIRCUIT COURT OF THE
                                                          I7'N JUDICIAL CIRCUIT IN AND FoR
                                                          BROWARD COUNTY, FLORIDA

                                                          Case No.:

  RICARDO VASQUEZ and ANTONTO ERVrN
  on behalf of themselves and others similarly situated
  under 29 U.S.C. 216(b)

          Plaintiff,

  VS.


  THE SCOTTS COMPANY LLC
  EG SYSTEMS, INC., TRUGREEN, INC., and
  TRUGREEN LIMITED PARTNERSHIP
          Defendants.
                                   /

        CONSENT TO JOIN AS PARTY PLAINTIFF PURSUANT TO 29 U.S.C.
                                                                                       $ 216(b)
          I, €r tcoJ* V^sV,.< z                        , HEREBY GIVE My CONSENT to be a
  party in this case, and agree to be bound by any settlement or judgment of the Court in this

  action. I affirm that from the date of about ZDl3                     through or about the date of

        20t5            , I was:

          l.     Employed by the Defendant as a lawn care technician.

          2.     During my employment. I was paid on an hourly basis.

          3.     During my employment, I was not paid one and one-half times my regular hourly

 rate for all my hours worked in excess of forty hours per workweek.




          oat"' tfrrlrt



                                       -Printed Name
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                                                                  IN THE CIRCUIT COURT OF THE
                                                                  17TH JUDICIAL CIRCUIT IN AND FoR
                                                                  BROWARD COLNTY. FLORIDA

                                                                  Case No.:

   RICARDO VASQUEZ and ANTONIO ERVIN
   on behalf of themselves and others similarly situated
   under 29 U.S.C. 216(b)

           Plaintiff,

   VS.


   THE SCOTTS COMPANY LLC
   EG SYSTEMS, INC., TRUGREEN, INC., and
   TRUGREEN LIMITED PARTNERSHIP
           Defendants.
                                            I

         CONSENT TO JOIN AS PARTY PLAINTIFF PURSUANT TO 29 U.S.C. $ 216(b)
                  A t               .--.,
           \     flfl*a4o b/'/tfl                              , HEREBY GIVE MY C'NSENT to be a
   party in this case, and agree to be bound by any settlement or judgment of the Court in this

   action. I affirm that from the date of abour Z0 ll                         through or about the date of

     ZO IL.I             , I was:

           1.      Employed by the Defendant as a lawn care technician.

          2.      During my employment, I was paid on an hourly basis.

          3.      During my employment, I was not paid one and one-half times my regular hourly

   rate for all my hours worked in excess of forty hours per workweek.




          Date: t'10-/ 7


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                                                               Division: 14
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                                                           IN THE CIRCUIT COURT OF THE
                                                           SEVENTEENTH JUDICIAL CIRCUIT IN
                                                           AND   FOR BRO WARD COUNTY,
                                                           FLORIDA

        RICARDO VASQUEZ and ANTONIO ERVIN                     CASE NO.:
        on behalf of themselves and others similarly situated
        under 29 U.S.C. 216(b)

                 Plaintiff,
        VS.

        THE SCOTTS COMPANY LLC
        EG SYSTEMS, INC., TRUGREEN, INC., and
        TRUGREEN LIMITED PARTNERSHIP

                 Defendants.

                                                   SUMMONS

        THE STATE OF FLORIDA:

        To Each Sheriff of the State of Florida:

              YOU ARE HEREBY COMMANDED to serve this summons and a copy of the
        complaint or petition in this action on Defendant:

                    TRUGREEN LIMITED PARTNERSHIP, a Florida limited partnership
                            c/o CT Corporation System, Registered Agent
                                    1200 South Pine Island Road
                                       Plantation, FL 33324

                Each Defendant is required to serve written defenses to the complaint or petition on
        Plaintiff's attorney, to-wit:

                                              Jacob K. Auerbach, Esq.
                                              Gallup Auerbach
                                              4000 Hollywood Boulevard,
                                              Suite 265 South
                                              Hollywood, Florida 33021
                                              Tel: (954) 894-3035


        within 20 days after service of this summons on that defendant, exclusive of the day of service,

        and to file the original of the defenses with the clerk of this court either before service on




              *** FILED: BROWARD COUNTY, FL BRENDA D. FORMAN, CLERK 1/12/2017 1:30:18 PM.****
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    plaintiff's attorney or immediately thereafter. If a defendant fails to do so, a default will be

    entered against that defendant for the relief demanded in the complaint or petition.

           DATED on this              day of January 2017.

                                                                         JAN 19 2017




    Jacob K. Auerbach, Esq.                             BRENDA D. F RMAN
    Florida Bar No.: 0084003
    Gallup Auerbach
    4000 Hollywood Boulevard
    Suite 265 South
    Hollywood, Florida 33021
    t: (954) 894-3035
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                                              IMPORTANTE

            Usted ha sido demandado legalmente. Tiene 20 dias, contados a partir del recibo de esta
    notificacion, para contestar la demanda adjunta, por escrito, y presentarla ante este tribunal. Una
    llamada telefonica no lo protegera. Si usted desea que el tribunal considere su defensa, debe
    presentar su respuesta por escrito, incluyendo el numero del caso y los nombres de las partes
    interesadas. Si usted no contesta la demanda a tiempo, pudiese perder el caso y podria ser
    despojado de sus ingresos y propiedades, o privado de sus derechos, sin previo aviso del tribunal.
    Existen otros requisitos legales.       Si lo desea, puede usted consultar a un abogado
    inmediatamente. Si no conoce a un abogado, puede llamar a una de las oficinas de asistencia
    legal que aparecen en la guia telefonica.

            Si desea responder a la demanda por su cuenta, al mismo tiempo en que presenta su
    respuesta ante el bribunal, debera usted enviar por correo o entregar una copia de su respuesta a
    la persona denominada abajo como "Plaintiff/Plaintiffs Attorney" (Demandante o Abogado del
    Demandante).


                                               IMPORTANT

            Des poursuites judiciares ont ete entreprises contre vous. Vous avez 20 jours consecutifs
    a partir de la date de l'assignation de cette citation pour deposer une reponse ecrite a la plainte ci-
    jointe aupres de ce tribunal. Un simple coup de telephone est insuffisant pour vous proteger.
    Vous etes oblige de deposer votre reponse ecrite, avec mention du numero de dossier ci-dessus et
    du nom des parties nommees ici, Si vous souhaitez que le tribunal entende votre cause. Si vous
    ne deposez pas votre reponse ecrite dans le relai requis, vous risquez de perdre la cause ainsi que
    votre salaire, votre argent, et vos biens peuvent etre saisis par la suite, sans aucun preavis
    ulterieur du tribunal. 11 y a d'autres obligations juridiques et vous pouvez requerir les services
    immediats d'un avocat. Si vous ne connaissez pas d'avocat, vous pourriez telephoner a un
    service de reference d'avocats ou a un bureau d'assistance juridique (figurant a l'annuaire de
    telephones).

           Si vous choisissez de deposer vous-meme une reponse ecrite, ii vous faudra egalement,
    en meme temps que cette formalite, faire parvenir ou expedier une copie de votre reponse ecrite
    au "Plaintiff/Plaintiffs Attorney" (Plaignant ou a son avocat) nomme di-dessous.
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                                                             IN THE CIRCUIT COURT OF THE
                                                             SEVENTEENTH JUDICIAL CIRCUIT IN AND
                                                             FOR BROWARD COUNTY, FLORIDA

                                                              CASE NO.: 17-001035 CACE (14)
    RICARDO VASQUEZ and ANTONIO ERVIN
    on behalf of themselves and others similarly situated
    under 29 U.S.C. 216(b)

            Plaintiff,
    vs.

    THE SCOTTS COMPANY LLC
    EG SYSTEMS, INC., TRUGREEN, INC., and
    TRUGREEN LIMITED PARTNERSHIP

            Defendants.                                              /

                              NOTICE OF COMMENCEMENT OF ACTION

    To:     Ryan A. Glasgow, Esq.
            Hunton & Williams LLP
            Riverfront Plaza, East Tower
            951 East Byrd Street, Richmond, Virginia 23219
            Attorney for The Scotts Company, LLC & EG Systems, Inc.

    A lawsuit has been commenced against THE SCOTTS COMPANY, LLC and EG SYSTEMS, INC.
    on whose behalf you are addressed. A copy of the complaint and summons is attached to this
    notice. The complaint has been filed in the Seventeenth Judicial Circuit Court in and for Broward
    County and has been assigned Case No. 17-001035 CACE (14).

    This is not a formal summons or notification from the court, but is rather my request that you sign
    the enclosed waiver of service of process form in order to save the cost of serving you with a
    judicial summons and an additional copy of the complaint. The cost of service will be avoided if I
    receive a signed copy of the waiver within 20 days after the date you receive this notice and request
    for waiver.

    If you comply with this request and return the signed waiver, it will be filed with the court and no
    summons will be served on you. The lawsuit will then proceed as if you had been served on the
    date the waiver is filed, except that you will not be obligated to respond to the complaint until 60
    days after the date on which you received the notice and request for waiver.

    If I do not receive the signed waiver within 20 days from the date you received the notice and the
    waiver of service of process form, formal service of process may be initiated in a matter authorized
    by the Florida Rules of Civil Procedure. Defendant will be required to pay the full cost of such
    service unless good cause is shown for the failure to return the waiver of service.




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         I hereby certify that this notice of lawsuit and request for waiver of service of process has been
    sent to you on behalf of the Plaintiffs on January 19, 2017.

                                                     GALLUP LAW
                                                     Counsel for Plaintiffs
                                                     4000 Hollywood Boulevard
                                                     Presidential Circle-Suite 265 South
                                                     Hollywood, Florida 33021
                                                     Telephone:     (954) 894-3035
                                                     Facsimile:     (954) 894-8015
                                                     E-mail: jauerbach@gallup-law.com

                                                     By:       /s/ Jacob K. Auerbach ________
                                                               JACOB K AUERBACH
                                                               Florida Bar No.: 0084003




                                                           2

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                                                             IN THE CIRCUIT COURT OF THE
                                                             SEVENTEENTH JUDICIAL CIRCUIT IN AND
                                                             FOR BROWARD COUNTY, FLORIDA

     RICARDO VASQUEZ and ANTONIO ERVIN                     CASE NO.: 17-001035 CACE (14)
     on behalf of themselves and others similarly situated
     under 29 U.S.C. 216(b)

             Plaintiff,
    vs.

    THE SCOTTS COJ\.1P ANY, LLC and EG SYSTEMS, INC.
    TRUGREEN, INC., AND TRUGREEN LIMITED PARTNERSHIP
         Defendants.                                 I

                                     WAIVER OF SERVICE OF PROCESS

    To:      Jacob K. Auerbach, Esq., Counsel for Plaintiffs, Ricardo Vazquez et al
             Gallup Auerbach, 4000 Hollywood Blvd, Suite 265 South, Hollywood, Florida 33021

    I acknowledge receipt of yom request that I waive service of process in the lawsuit of VAZQUEZ et al
    v. THE SCOTTS COMPANY, LLC and EG SYSTEMS, INC. (collectively, "SCOTTS") in the
    Seventeenth Judicial Circuit Court in and for Broward County, Florida, and has been assigned Case #17-
    001035 CACE (14). I have also received a copy of the: (i) Complaint; (ii) Smmnons; (iii) two copies of
    this waiver; and (iv) a means by which I can retmn the signed waiver to you without cost to me.

    I agree to save the cost of service of process and an additional copy of the complaint in this lawsuit by
    not requiring that neither I nor the Defendants, SCOTTS, be served with judicial process in the manner
    provided by Fla. R. Civ. P. 1.070.

    If I am not the defendant to whom the notice of lawsuit and a waiver of service of process was sent, I
    declare that my relationship to the entity to whom the notice was sent and my authority to accept service
    on behalf of such person or entity is as follows: Counsel for Scotts.

    I, acting on behalf of the SCOTTS will retain all defenses or objections to the lawsuit or to the
    jmisdiction or venue of the court except for any objections based on a defect in the summons or in the
    service of summons.

    I understand that a judgment may be entered against the SCOTTS if a written response is not served
    upon you within 60 days from the date I received the notice of lawsuit and request for wavier of service
    of process.

            DATED 24th day of January 2017.



                                                     Ryan A. Glasgow, Esq (VA Bar No. 71023 )
                                                     Hunton & Williams LLP
                                                     Riverfront Plaza, East Tower
                                                     951 East Byrd Street, Richmond, Virginia 23219
                                                     t: 804.788.8791; f: 804.343.4897
                                                     e: rglasgow(it{hunton.com



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                                                      IN THE CIRCUIT COURT OF THE
                                                      SEVENTEENTH JUDICIAL CIRCUIT IN
                                                      AND   FOR   BROWARD     COUNTY,
                                                      FLORIDA

   RICARDO VASQUEZ and ANTONIO ERVIN                     CASE NO.:
   on behalf of themselves and others similarly situated
   under 29 U.S.C. 216(b)

          Plaintiff,
   vs.

   THE SCOTTS COMPANY LLC
   EG SYSTEMS, INC., TRUGREEN, INC., and
   TRUGREEN LIMITED PARTNERSHIP

          Defendants.                                         /


                                              SUMMONS

   THE STATE OF FLORIDA:

   To Each Sheriff of the State of Florida:

         YOU ARE HEREBY COMMANDED to serve this summons and a copy of the
   complaint or petition in this action on Defendant:

                            EG SYSTEMS, INC., a Florida corporation
                           c/o CT Corporation System, Registered Agent
                                   1200 South Pine Island Road
                                      Plantation, FL 33324

           Each Defendant is required to serve written defenses to the complaint or petition on
   Plaintiff’s attorney, to-wit:

                                         Jacob K. Auerbach, Esq.
                                         Gallup Auerbach
                                         4000 Hollywood Boulevard,
                                         Suite 265 South
                                         Hollywood, Florida 33021
                                         Tel: (954) 894-3035


   within 20 days after service of this summons on that defendant, exclusive of the day of service,

   and to file the original of the defenses with the clerk of this court either before service on
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   plaintiff’s attorney or immediately thereafter. If a defendant fails to do so, a default will be

   entered against that defendant for the relief demanded in the complaint or petition.

          DATED on this _______ day of January 2017.



                                                        _____________________________
                                                        As Clerk of the Court


                                                        By: __________________________
                                                            As Deputy Clerk


   Jacob K. Auerbach, Esq.
   Florida Bar No.: 0084003
   Gallup Auerbach
   4000 Hollywood Boulevard
   Suite 265 South
   Hollywood, Florida 33021
   t: (954) 894-3035
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                                             IMPORTANTE

           Usted ha sido demandado legalmente. Tiene 20 dias, contados a partir del recibo de esta
   notificacion, para contestar la demanda adjunta, por escrito, y presentarla ante este tribunal. Una
   llamada telefonica no lo protegera. Si usted desea que el tribunal considere su defensa, debe
   presentar su respuesta por escrito, incluyendo el numero del caso y los nombres de las partes
   interesadas. Si usted no contesta la demanda a tiempo, pudiese perder el caso y podria ser
   despojado de sus ingresos y propiedades, o privado de sus derechos, sin previo aviso del tribunal.
   Existen otros requisitos legales.       Si lo desea, puede usted consultar a un abogado
   inmediatamente. Si no conoce a un abogado, puede llamar a una de las oficinas de asistencia
   legal que aparecen en la guia telefonica.

           Si desea responder a la demanda por su cuenta, al mismo tiempo en que presenta su
   respuesta ante el bribunal, debera usted enviar por correo o entregar una copia de su respuesta a
   la persona denominada abajo como "Plaintiff/Plaintiff's Attorney" (Demandante o Abogado del
   Demandante).


                                              IMPORTANT

            Des poursuites judiciares ont ete entreprises contre vous. Vous avez 20 jours consecutifs
   a partir de la date de l'assignation de cette citation pour deposer une reponse ecrite a la plainte ci-
   jointe aupres de ce tribunal. Un simple coup de telephone est insuffisant pour vous proteger.
   Vous etes oblige de deposer votre reponse ecrite, avec mention du numero de dossier ci-dessus et
   du nom des parties nommees ici, si vous souhaitez que le tribunal entende votre cause. Si vous
   ne deposez pas votre reponse ecrite dans le relai requis, vous risquez de perdre la cause ainsi que
   votre salaire, votre argent, et vos biens peuvent etre saisis par la suite, sans aucun preavis
   ulterieur du tribunal. Il y a d'autres obligations juridiques et vous pouvez requerir les services
   immediats d'un avocat. Si vous ne connaissez pas d'avocat, vous pourriez telephoner a un
   service de reference d'avocats ou a un bureau d'assistance juridique (figurant a l'annuaire de
   telephones).

          Si vous choisissez de deposer vous-meme une reponse ecrite, il vous faudra egalement,
   en meme temps que cette formalite, faire parvenir ou expedier une copie de votre reponse ecrite
   au "Plaintiff/Plaintiff's Attorney" (Plaignant ou a son avocat) nomme di-dessous.
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                                                      IN THE CIRCUIT COURT OF THE
                                                      SEVENTEENTH JUDICIAL CIRCUIT IN
                                                      AND   FOR   BROWARD     COUNTY,
                                                      FLORIDA

   RICARDO VASQUEZ and ANTONIO ERVIN                     CASE NO.:
   on behalf of themselves and others similarly situated
   under 29 U.S.C. 216(b)

          Plaintiff,
   vs.

   THE SCOTTS COMPANY LLC
   EG SYSTEMS, INC., TRUGREEN, INC., and
   TRUGREEN LIMITED PARTNERSHIP

          Defendants.                                         /

                                              SUMMONS

   THE STATE OF FLORIDA:

   To Each Sheriff of the State of Florida:

         YOU ARE HEREBY COMMANDED to serve this summons and a copy of the
   complaint or petition in this action on Defendant:

               THE SCOTTS COMPANY LLC, a Florida limited liability company
                       c/o CT Corporation System, Registered Agent
                               1200 South Pine Island Road
                                  Plantation, FL 33324

           Each Defendant is required to serve written defenses to the complaint or petition on
   Plaintiff’s attorney, to-wit:

                                         Jacob K. Auerbach, Esq.
                                         Gallup Auerbach
                                         4000 Hollywood Boulevard,
                                         Suite 265 South
                                         Hollywood, Florida 33021
                                         Tel: (954) 894-3035


   within 20 days after service of this summons on that defendant, exclusive of the day of service,

   and to file the original of the defenses with the clerk of this court either before service on
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   plaintiff’s attorney or immediately thereafter. If a defendant fails to do so, a default will be

   entered against that defendant for the relief demanded in the complaint or petition.

          DATED on this _______ day of January 2017.



                                                        _____________________________
                                                        As Clerk of the Court


                                                        By: __________________________
                                                            As Deputy Clerk


   Jacob K. Auerbach, Esq.
   Florida Bar No.: 0084003
   Gallup Auerbach
   4000 Hollywood Boulevard
   Suite 265 South
   Hollywood, Florida 33021
   t: (954) 894-3035
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                                             IMPORTANTE

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